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                  BEFORE THE UNITED STATES JUDICIAL PANEL ON
                          MULTIDISTRICT LITIGATION




 In re: MultiPlan Health Insurance Provider            MDL No. 3121
 Litigation




                    NOTICE OF POTENTIAL TAG-ALONG ACTION

       In accordance with Rule 7.1(a) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, Mehrnaz Jamali MD, Inc., the named plaintiff in the action

captioned Mehrnaz Jamali MD, Inc. v. MultiPlan, Inc. et al, No. 5:24-cv-04508 pending in the

Northern District of California, writes to notify the Panel of the potential tag along action listed

on the attached Schedule of Action.

       A docket sheet and complaint are attached.


DATED: August 8, 2024                           Respectfully submitted,

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